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                                      Exhibit A

                                   Proposed Order




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CLAIRE’S STORES, INC., et al.,                               :        Case No. 18-10584 (MFW)
                                                             :
                                               1
                                    Debtors.                 :        Jointly Administered
                                                             :
                                                             :        Re: Docket No. ____
------------------------------------------------------------ x

                            ORDER (I) EXTENDING
           THE EXCLUSIVE PERIODS AND (II) GRANTING RELATED RELIEF

                   Upon the motion (the “Motion”)2 of Claire’s Stores, Inc. and its debtor affiliates,

as debtors and debtors in possession in the above-captioned Chapter 11 Cases

(collectively, the “Debtors”), for entry of order pursuant to section 1121(d) of title 11 of the

United States Code (the “Bankruptcy Code”), for an order extending the Debtors’ exclusive

periods in which to file a chapter 11 plan (the “Exclusive Filing Period”) and solicit acceptances

thereof (the “Exclusive Solicitation Period” and, together with the Exclusive Filing Period,

the “Exclusive Periods”), all as more fully set forth in the Motion; and upon consideration of

the First Day Declaration; and this Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware dated February 29,

2012; and consideration of the Motion and the requested relief being a core proceeding pursuant

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Claire’s Inc. (6919); Claire’s Stores, Inc. (0416); BMS Distributing Corp. (4117);
    CBI Distributing Corp. (5574); Claire’s Boutiques, Inc. (5307); Claire’s Canada Corp. (7936); Claire’s Puerto
    Rico Corp. (6113); and CSI Canada LLC. The Debtors’ corporate headquarters and service address is 2400
    West Central Road, Hoffman Estates, Illinois 60192.
2
    Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
    terms in the Motion.




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to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408

and 1409; and due and proper notice of the Motion having been provided to the parties listed

therein, and it appearing that no other or further notice need be provided; and this Court having

reviewed the Motion; and this Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and it appearing that the relief

requested in the Motion is in the best interests of the Debtors, their estates, creditors, and all

parties in interests; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.   The Motion is granted as provided herein.

                   2.   Pursuant to section 1121(d) of the Bankruptcy Code, the Exclusive Filing

Period is extended through and including October 15, 2018.

                   3.   Pursuant to section 1121(d) of the Bankruptcy Code, the Exclusive

Solicitation Period is extended through and including December 14, 2018.

                   4.   The extension of the Exclusive Periods granted herein are without

prejudice to such further requests that may be made pursuant to section 1121(d) of the

Bankruptcy Code by the Debtors or any party in interest, for cause, upon notice and hearing.

                   5.   The Debtors are authorized to take all steps necessary or appropriate to

carry out this Order.




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                   6.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.


Dated:                          , 2018
         Wilmington, Delaware


                                             THE HONORABLE MARY F. WALRATH
                                             UNITED STATES BANKRUPTCY JUDGE




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